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Fill in this information to identify your case:
                                                                                                             ❑ Check if this is a modified
CHALE VERDELL CLARK                                                                                              plan, and list below the
Last four digits of SSN: 5414                                                                                    sections of the plan that have
107 Brick Greens Road                                                                                            been changed.
Goose Creek, SC 29445
                                                                                                             ❑      Pre-confirmation modification

United States Bankruptcy Court for the: District of South Carolina                                           ❑      Post-confirmation modification
                                                                                                             _________________________________
Case number__22-01844-dd______
                                                                                                             _________________________________



 District of South Carolina
 Chapter 13 Plan                                                                                                                                         05/2


  Part 1:      Notices

 To Debtors:      This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                  indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                  Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                  In the following notice to creditors, you must check each box that applies.

 To Creditors:    Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                  You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                  an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                  requested in this document.
                  If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file a timely objection to
                  confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or
                  applicable Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice if no
                  objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure
                  3002, you must file a timely proof of claim in order to be paid under any plan. Confirmation of this plan does not bar a party in
                  interest from objecting to a claim.
                  The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                  includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                  be ineffective if set out later in the plan.
    1.1     A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                 ▪ Included           Not included
            payment or no payment at all to the secured creditor

    1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                  ▪ Included           Not included
            Section 3.4

    1.3     Nonstandard provisions, set out in Part 8                                                                       ▪ Included           Not included

    1.4     Conduit Mortgage Payments: ongoing mortgage payments made by the trustee through plan, set                      ▪ Included           Not included
            out in Section 3.1(c) and in Part 8




  Part 2:      Plan Payments and Length of Plan

 2.1 The debtor will pay the trustee as follows: $2300 per month for sixty (60) months

 The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to the
 plan. The stipulation is effective upon filing with the Court, unless otherwise ordered.
 2.2 Regular payments to the trustee will be made from future income in the following manner:

      ❑     The debtor will make payments pursuant to a payroll deduction order.
      ❑     The debtor will make payments directly to the trustee.
      ▪     Other (specify method of payment): tfsbillpay.com
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Debtor _Chale Verdell Clark___________                                                                           Case Number __22-01844-dd____
2.3 Income tax refunds.

     ▪     The debtor will retain any income tax refunds received during the plan term.
     ❑     The debtor will treat income tax refunds as follows:     ______________________________________________


2.4 Additional payments.

     ▪     None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.


 Part 3:      Treatment of Secured Claims
To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if
a claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended,
shall be treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection
of the automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account
of any secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection
of the automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole
reason for its application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to
these provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who
has filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

3.1 Maintenance of payments and cure or waiver of default, if any.
     Check all that apply. Only relevant sections need to be reproduced.
     ❑    None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

      ▪ 3.1(c) The debtor will to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in accordance
with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict between this document and
the Operating Order, the terms of the Operating Order control.


3.2 Request for valuation of security and modification of undersecured claims. Check one.

     ❑ None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
           The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

     ▪  Non-governmental claims. The debtor requests that the Court determine the amount of the secured claims listed below, as set out in the
column headed Amount of secured claim. Unless otherwise ordered by the Court, a proof of claim sets the total amount of a claim, but the plan
controls the amount of the secured claim, unless a lower secured claim amount is acknowledged in the proof of claim. The amount of the secured
claim will be paid in full with interest at the rate stated below.

          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5. Unless
stated in Part 8.1, any applicable taxes and insurance related to the collateral shall be paid directly by the debtor.


 Name of             Estimated           Collateral               Value of      Amount of           Amount of           Interest rate       Estimated
 creditor            amount of                                    collateral    claims senior       secured claim                           monthly
                     creditor’s total                                           to creditor’s                                               payment to
                     claim                                                      claim                                                       creditor
                                                                                                                                            (disbursed by
                                                                                                                                            the trustee)

 Badcock             $3000               Household goods          $1000         $0                  $1000               5.25%               $20 (or more)
 Furniture                               and furnishings


3.3 Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.
    ❑ None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
     ▪    The claims listed below are being paid in full without valuation or lien avoidance.
These claims will be paid in full under the plan with interest at the rate stated below. Unless otherwise ordered the applicable proof of claim sets the amount
to be paid at the interest rate set below. These payments will be disbursed either by the trustee or directly by the debtor, as specified below. Unless
otherwise stated in Part 8.1, any applicable taxes and insurance shall be paid directly by the debtor. Unless there is a non-filing co-debtor who continues
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Debtor _Chale Verdell Clark___________                                                                              Case Number __22-01844-dd____
to owe an obligation secured by the lien, any secured creditor paid the allowed secured claim provided for by this plan shall satisfy its liens at the earliest
of the time required by applicable state law, order of this Court, or discharge order § 1328.


 Name of creditor                  Collateral                     Estimated amount of              Interest rate                    Estimated monthly
                                                                  claim                                                             payment to creditor
 CarMax                            2015 Buick Enclave             $10,000                          5.25%                            $190 (or more)
                                                                                                                                    Disbursed by
                                                                                                                                    ▪ Trustee
                                                                                                                                    ❑ Debtor
3.4 Lien avoidance.

     ❑    None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
     The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

     ▪ The Debtor(s) state that the judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below
impair exemptions to which the debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the Court, a judicial lien
or security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of an order, whether
included in the order confirming the plan or otherwise avoiding liens or security interests. The amount of the judicial lien or security interest that
is avoided will be treated as an unsecured claim in Part 5.1 to the extent allowed. The amount, if any, of the judicial lien or security interest that is
not avoided will be paid as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be
avoided, provide the information separately for each lien.
 Name of creditor and            Estimated           Total of all             Applicable            Value of              Amount of           Amount of lien
 description of property         amount of lien      senior/unavoidable       Exemption and         debtor’s interest     lien not            avoided
 securing lien                                       liens                    Code Section          in property           avoided (to be
                                                                                                                          paid in 3.2
                                                                                                                          above)
 Cynthia Speller –               $1614               $278,000                 $52,000 - S.C.        $330,000              $0                  $1614
 judgment lien on real                                                        Code Ann. § 15-
 property located at 107                                                      41-30(A)(1)(a)
 Brick Greens Road
 Goose Creek, SC 29445

3.5 Surrender of collateral.
    ▪ None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

  Part 4:        Treatment of Fees and Priority Claims

4.1 General: The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay
     regular payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise
     ordered by the Court. Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be
     paid in full without postpetition interest.
4.2 Trustee’s fees: Trustee’s fees are governed by statute and may change during the course of the case.

4.3 Attorney’s fees

            a.    The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure statement
                  filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be disbursed by
                  the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall disburse a dollar
                  amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the balance of the attorney’s
                  compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining each month after payment of trustee
                  fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In instances where an attorney assumes
                  representation in a pending pro se case and a plan is confirmed, a separate order may be entered by the Court, without further notice,
                  which allows for the payment of a portion of the attorney’s fees in advance of payments to creditors.
            b.    If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                  applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held in
                  trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has received $______
                  and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $_______ or less.

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
     The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a pro rata
     basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further modification of the plan.
     ❑ Domestic Support Claims. 11 U.S.C. § 507(a)(1):


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Debtor _Chale Verdell Clark___________                                                                               Case Number __22-01844-dd____
             a.     Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to _____________ (state name of
                    DSO recipient) , at the rate of $_________ or more per month until the balance, without interest, is paid in full. Add additional creditors
                    as needed.
             b.     The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis directly to the
                    creditor.
             c.     Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those obligations from property that
                    is not property of the estate or with respect to the withholding of income that is property of the estate or property of the debtor for payment
                    of a domestic support obligation under a judicial or administrative order or a statute.
4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
    ▪ None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
  Part 5:          Treatment of Nonpriority Unsecured Claims
5.1 Nonpriority unsecured claims not separately classified. Check one.
     Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
     available after payment of all other allowed claims.
     ▪ The debtor estimates payments of less than 100% of claims.
     ❑ The debtor proposes payment of 100% of claims.
     ❑ The debtor proposes payment of 100% of claims plus interest at the rate of ___%.
5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.
    ▪ None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
5.3 Other separately classified nonpriority unsecured claims. Check one.
    ▪ None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.
 Part 6:          Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
     contracts and unexpired leases are rejected. Check one.

     ▪ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
 Part 7:          Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor as stated below:

    ▪      Upon confirmation of the plan, property of the estate will remain property of the estate, but possession and use of property of the estate shall
           remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate. The
           debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor.
    ❑       Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective only if
           the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

 Part 8:          Nonstandard Plan Provisions

8.1 Check “None” or List Nonstandard Plan Provisions

     ❑ None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in this
form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3:


     (a)           Mortgage payments to be disbursed by the Trustee (“Conduit”):
                   In addition to the below, the provisions of the assigned Judge’s Operating Order In re: Conduit Mortgage Payment in Chapter 13 Cases
                   are incorporated herein.
 Name of            Description of Collateral       Current installment              Monthly payment to            Estimated            Monthly
 Creditor                                           payment (ongoing                 cure GAP ** (post-            amount of PRE-       payment on
                    (note if principal              payment amount) *                petition mortgage             PETITION             pre-petition
                    residence; include                                               payments for the two          ARREARAGE**          arrearage
                    county tax map number                                            (2) months immediately        (including the
                    and complete street                                              following the event           month of filing
                    address)                                                         beginning conduit)            or conversion)*
 Cardinal           107 Brick Greens Road           $1527.51                         $51 or more                   $14,600              $215 or more
 Financial          Goose Creek, SC 29445
 Co.                                                Escrow for insurance: yes
                    TMS: 244-08-01-004
                                                    Escrow for taxes: yes



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* Unless otherwise ordered by the court, the amounts listed on a compliant proof of claim or a Notice filed under FRBP 3002(c)control over any contrary
amounts above, and any Notice of Payment Change that might be filed to amend the ongoing monthly payment amount.
** The Gap will be calculated from the payment amounts reflected in the Official Form 410A Mortgage Proof of Claim Attachment and any Notice of
Payment Change that might be filed to amend the monthly payment amount, but should not be included in the prepetition arrears amount.
All payments due to the Mortgage Creditor as described in any allowed Notice of Post-petition Mortgage Fees, Expenses, and Charges under F.R.B.P.
3002.1, filed with the Court, will be paid by the Trustee. See according to the requirements of the Operating Order of the Judge assigned to this case, on
a pro rata basis as funds are available.
Once the trustee has filed a Notice of Final Cure under F.R.B.P. 3002.1(f), the debtor shall be directly responsible for ongoing mortgage payments and
any further post-petition fees and charges unless otherwise ordered by the Court.



 Part 9:     Signature(s)


9.1 Signatures of the debtor and the debtor’s attorney

    The debtor and the attorney for the debtor, if any, must sign below.


     /s/ Chale Verdell Clark _______
           Chale Verdell Clark

           Executed on __July 14, 2022___


           /s/ R. Michael Drose                                         Date: July 14, 2022
            R. Michael Drose Dist Ct ID #609
            Attorneys for Debtor
            Drose Law Firm
            4900 O’Hear Ave
            Charleston, SC 29405
            843-767-8888 telephone
           843-620-1035 facsimile
           drose@droselaw.com email


 By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




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Debtor _Chale Verdell Clark___________                                          Case Number __22-01844-dd____




                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF SOUTH CAROLINA
 IN RE:
 CHALE VERDELL CLARK                                   CASE NO: 22-01844
 Last four digits of SSN: 5414
 107 Brick Greens Road                                 CHAPTER 13
 Goose Creek, SC 29445
                                                       CERTIFICATE OF SERVICE
                                  Debtor.

I hereby certify that the foregoing Notice, Plan and Motions was served on all creditors and parties in interest
entitled to such notice on the below stated date. The specific list of the names and addresses of parties served
with the plan is attached to the plan filed with the Court.

VIA US MAIL
(see attached list)

ELECTRONICALLY
James M. Wyman, Chapter 13 Trustee


Date: July 14, 2022                              BY: /s/ Ashlee Jack
                                                     Ashlee Jack
                                                     Office Personnel
                                                     Drose Law Firm
                                                     4900 O’Hear Ave
                                                     Charleston, SC 29405
                                                     Phone: 843-767-8888
                                                     Fax: 843-620-1035
                                                     drose@droselaw.com




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Label Matrix for local noticing                        (p)W Document
                                                            S BADCOCK CORPORATION
                                                                               Page 7 of 7                  Berkeley County Tax Collector
0420-2                                                 POST OFFICE BOX 724                                  PO Box 6122
Case 22-01844-dd                                       MULBERRY FL 33860-0724                               Moncks Corner SC 29461-6120
District of South Carolina
Charleston
Thu Jul 14 12:07:27 EDT 2022
(p)CARMAX AUTO FINANCE                                 Cardinal Financial Co.                               Chale Verdell Clark
225 CHASTAIN MEADOWS CT                                PO Box 653                                           107 Brick Greens Road
KENNESAW GA 30144-5897                                 Lake Zurich IL 60047-0653                            Goose Creek, SC 29445-7347



Cynthia Speller                                        Discover Card                                        R. Michael Drose
144 Pidgeon Bay Road                                   Discover Financial Services                          Drose Law Firm
Summerville SC 29483-3469                              P.O. Box 6103                                        4900 O’Hear Ave Floor 100
                                                       Carol Stream IL 60197-6103                           Ste 103
                                                                                                            29405
                                                                                                            North Charleston, SC 29405-5091
Jordan Daniel Beumer                                   (p)SOUTH CAROLINA DEPARTMENT OF REVENUE              US Trustee’s Office
2712 Middleburg Drive                                  OFFICE OF THE GENERAL COUNSEL - BANKRUPTCY SECTION   Strom Thurmond Federal Building
Suite 200                                              300A OUTLET POINTE BLVD                              1835 Assembly Street
Greenville SC 29604                                    COLUMBIA SC 29210-5666                               Suite 953
                                                                                                            Columbia, SC 29201-2448

James M. Wyman
PO Box 997
Mount Pleasant, SC 29465-0997




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Badcock                                                CarMax                                               SC Department of Revenue
PO Box 497                                             Attn: Customer Service                               Attn. LAWYER
Mulberry FL 33860                                      PO Box 440609                                        300 A. Outlet Pointe Blvd
                                                       Kennesaw GA 30160                                    Columbia SC 29210


End of Label Matrix
Mailable recipients      12
Bypassed recipients       0
Total                    12
